     Case 18-14683-leb              Doc 166        Entered 09/11/18 16:35:45             Page 1 of 4


 1   JAMES PATRICK SHEA, ESQ.
     Nevada Bar No. 405
 2   BART K. LARSEN, ESQ.
     Nevada Bar No. 8538
 3   KOLESAR & LEATHAM
     400 South Rampart Boulevard, Suite 400
 4   Las Vegas, Nevada 89145
     Telephone: (702) 362-7800
 5   Facsimile: (702) 362-9472
     E-Mail: jshea@klnevada.com
 6            blarsen@klnevada.com

 7   JUDITH W. ROSS
     Admitted Pro Hac Vice
 8   Texas State Bar No. 21010670
 9   LAW OFFICES OF JUDITH W. ROSS
     700 N. Pearl Street, Suite 1610
10   Dallas, Texas 75201
     Telephone: (214) 377-7879
11   Facsimile: (214) 377-9409
     E-Mail: judith.ross@judithwross.com
12

13   Counsel to Sterling Business Credit, LLC

14                                   UNITED STATES BANKRUPTCY COURT

15                                        FOR THE DISTRICT OF NEVADA

16   In re:                                                       Case No.: BK-S-18-14683-leb
                                                                  Chapter 11
17   GUMP’S HOLDINGS, LLC
18              Affects this Debtor.                              Jointly administered with:

19                                                                No. BK-S-14684 (In re Gump’s Corp.)
                Affects all Debtors.
20                                                                No. BK-S-14685 (In re Gump’s By Mail, Inc.)

21              Affects Gump’s Corp.

22              Affects Gump’s By Mail, Inc.                      Hearing Date:              September 12, 2018
                                                                  Hearing Time:              10:00 A.M. (PT)
23
            RESPONSE IN SUPPORT OF DEBTORS’ MOTION FOR ORDER APPROVING
24                 PAYMENT OF BONUSES TO MISSISSIPPI EMPLOYEES
25              Sterling Business Credit, LLC (“Sterling”) files this response in support of the Motion for

26   Order Approving Payment of Bonuses to Mississippi Employees [ECF No. 140] (the “Motion”)1

27
     1
28       Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
     Case 18-14683-leb              Doc 166       Entered 09/11/18 16:35:45              Page 2 of 4


 1   filed by Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc. (collectively,

 2   “Debtors”) seeking authority to pay certain limited prepetition obligations to employees of the

 3   Debtors’ Distribution Center, and respectfully states as follows: 2

 4                                                 RESPONSE IN SUPPORT

 5              1.       As stated in the Motion, in the weeks leading up to the Debtors’ chapter 11

 6   filings, there was significant uncertainty regarding both the Debtors’ next steps and Sterling’s

 7   willingness to provide additional funding in the form of debtor-in-possession financing in light

 8   of the Debtors’ financial situation and the amount the Debtors’ already owed Sterling under their

 9   prepetition loan agreement. 3 On Friday, July 27, 2018, after being informed that the Debtors

10   were planning to proceed with a chapter 7 filing, Sterling took actions, in discussion with the

11   Debtors, to protect its collateral in the midst of what appeared to be a “free fall” process.

12   According to the Motion, the prior evening, in preparation for a chapter 7 filing, the Debtors

13   began terminating the employees of the Debtors’ Mississippi-based Distribution Center, though

14   they held off taking similar action to terminate employees in their San Francisco offices and

15   retail location. Such terminations were apparently completed the following morning (Friday,

16   July 27th), but as the day progressed, the Debtors and Sterling came to a preliminary agreement

17   regarding financing that ultimately facilitated a chapter 11 filing. This agreement with the

18   Debtors included the requirement that the Debtors promptly pay a particular bonus to each of the

19   nine employees of the Distribution Center in consideration of those employees’ abrupt

20   termination and the related turmoil and confusion. The Debtors confirm such agreement in the

21   Motion. See ¶ 15 of the Motion.

22

23
     2
         This Objection is supported by the Declaration of Laurel Varney filed herewith (the “Varney Declaration”).
24   3
       More information regarding this prepetition loan agreement, the related Debtor obligations, and Sterling’s liens and
25   security interests is set forth in, among other filings, the Court’s Final Order (A) Authorizing the Debtors to Obtain
     Post-Petition Financing, (B) Granting Liens and Providing Administrative Expense Status, (C) Authorizing the
26   Debtors’ Use of Cash Collateral, (D) Granting Adequate Protection, (E) Modifying the Automatic Stay, and
     (F) Granting Related Relief [ECF No. 148] (the “DIP Order”), the Declaration of Laurel Varney in Support of
27   Debtors’ First-Day Motions Regarding Debtor-in-Possession Financing and Asset Liquidation [ECF No. 42], and
     the First Supplemental Declaration of Laurel Varney in Support of Debtors’ First-Day Motions Regarding Debtor-
28   in-Possession Financing and Asset Liquidation [ECF No. 48].


                                                                2
     Case 18-14683-leb          Doc 166     Entered 09/11/18 16:35:45          Page 3 of 4


 1          2.      Debtors hired back some of those employees almost immediately after

 2   terminating them, but Sterling wanted to ensure that all nine employees came back and worked

 3   hard for the mutual benefit of Sterling and the Debtors’ estates. While payment of the bonuses

 4   was included in the budget attached to the DIP Order, Sterling had no means of confirming

 5   whether the correct amount was included and has since learned that the full amount was not

 6   reflected in the budget.

 7          3.       While      Sterling   disagrees   with   the   Debtors’    characterization   of   the

 8   communications that took place with the Debtors regarding such bonuses, Sterling supports the

 9   relief requested in the Motion and requests that the applicable bonus be paid by the Debtors to

10   each of the nine Distribution Center employees without further delay. As stated in the Motion,

11   Sterling agrees that such amounts may be paid out of the DIP Financing (as defined in the DIP

12   Order). Further, because these payments were required by Sterling in its initial agreement to

13   provide the Debtors with certain pre-petition financing, as well as the post-petition financing

14   approved in the DIP Order, any additional delay deprives Sterling of this aspect of its agreed-

15   upon terms after Sterling has already provided the Debtors with significant funds.

16          4.      Accordingly, Sterling supports relief requested in the Motion and requests that the

17   Court authorize the prompt payment of the Mississippi Employee Obligations set forth in the

18   Motion.

19

20                              [Remainder of the Page Intentionally Left Blank]

21

22

23

24

25

26

27

28

                                                        3
     Case 18-14683-leb     Doc 166   Entered 09/11/18 16:35:45    Page 4 of 4


 1   Dated: September 11, 2018                /s/ Judith W. Ross
                                           Judith W. Ross
 2                                         Law Offices of Judith W. Ross
                                           700 N. Pearl Street, Suite 1610
 3
                                           Dallas, Texas 75201
 4                                         Telephone: (214) 377-7879
                                           Facsimile: (214) 377-9409
 5                                         E-Mail:     judith.ross@judithwross.com

 6                                         James Patrick Shea, Esq.
                                           Bart K. Larsen, Esq.
 7                                         Kolesar & Leatham
                                           400 South Rampart Boulevard, Suite 400
 8                                         Las Vegas, Nevada 89145
                                           Telephone: (702) 362-7800
 9                                         Facsimile: (702) 362-9472
                                           E-Mail: jshea@klnevada.com
10                                                    blarsen@klnevada.com
11                                         Counsel to Sterling Business Credit, LLC
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              4
